             Case 2:16-cv-00334-TOR                  ECF No. 11          filed 05/17/17     PageID.81 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the_
                                                     Eastern District of Washington


                    ELLIOTT D. GOODIN,                               )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 2:16-CV-0334-TOR
                                                                     )
                                                                     )
   DR. GREGORY BAHDER, and MURIAL SNYDER,
                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other:
’
              Plaintiff’s Complaint is DISMISSED without prejudice for failure to state a claim under 28 U.S.C. §1915(e)(2)(B).
              Plaintiff’s in forma pauperis status is REVOKED.




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge              Thomas O. Rice                                                 after Plaintiff failed to file an amended
      complaint pursuant to the Court's order at ECF No. 9.


Date:    May 17, 2017                                                       CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Linda L. Hansen
                                                                                          (By) Deputy Clerk

                                                                             Linda L. Hansen
